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     Attorney for Defendant
5    ERASTO SOLIS-FERNANDEZ
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7
8                         IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )      NO. CR-S-04-0369
                                     )
13                  Plaintiff,       )
                                     )
14        v.                         )      STIPULATION AND ORDER CONTINUING
                                     )      STATUS HEARING
15   ERASTO SOLIS-FERNANDEZ,         )
                                     )      Date: September 16, 2005
16                  Defendant.       )      Time: 9:00 a.m.
                                     )      Judge: Hon. Garland E. Burrell, Jr.
17   _______________________________ )
18
           ERASTO SOLIS-FERNANDEZ, by and through his counsel, VICKI E. CODY
19
     and the United States Government, by and through its counsel, JASON
20
     HITT, and MICHAEL BECKWITH,      Asst. U.S. Attorneys, hereby agree to
21
     continue the status hearing set for June 24, 2005, to September 16,
22
     2005, at 9:00 a.m.
23
           This continuance is requested to permit the defense to continue
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     its investigation into possible defenses to the charges.           In addition,
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     the parties seek additional time to work on settlement options in light
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     of recent Supreme Court decisions.
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           Case 2:04-cr-00369-GEB Document 17 Filed 08/03/05 Page 2 of 2


1         The parties further agree and stipulate that time should be
2    excluded from calculation under the Speedy Trial Act (18 U.S.C. § 3161
3    et seq.) for the following reason: time for counsel to prepare (Local
4    Code T4).   Accordingly time is excluded under 18 U.S.C. §
5    3161(h)(8)(iv)(Local Code T4), from June 24, 2005, to and including
6    September 16, 2005.   Mr. Solis-Fernandez is in custody and consents to
7    this stipulation.
8
9         IT IS SO STIPULATED.
10
     Dated: August 1, 2005
11                                          Respectfully submitted,
12                                          /s/ Signature on file w/CODY
                                            VICKI E. CODY
13                                          Attorney for Defendant
                                            ERASTO SOLIS-FERNANDEZ
14
15   Dated: August 1, 2005
                                            McGREGOR W. SCOTT
16                                          UNITED STATES ATTORNEY
17                                          /s/ Signature on file w/CODY
                                            JASON HITT
18                                          Assistant U.S. Attorney
19
                                          ORDER
20
     IT IS SO ORDERED.
21
     DATED: August 2, 2005
22   nunc pro tunc
                                            /s/ Garland E. Burrell, Jr.
23                                          GARLAND E. BURRELL, JR.
                                            United States District Judge
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